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                                UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                   CASE NO.: 19-CV-80235-DMM


 CAESAR BACARELLA,
      Plaintiff,
 v.

 JOSE C. ARANDA and JOSE C. ARANDA
 d/b/a HUSTLE AESTHETICS,

       Defendants.
 ____________________________________/

                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         The Plaintiff, CAESAR BACARELLA, and the Defendants, JOSE C. ARANDA and JOSE

  C. ARANDA d/b/a HUSTLE AESTHETICS, by and through their undersigned counsel, pursuant to

  Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and Paragraph 8 of the Parties’ Settlement Agreement,

  file this JOINT STIPULATION OF DISMISSAL WITH PREJUDICE, that the above cause, having

  been amicably resolved, be dismissed with prejudice as to all claims between all parties, with each

  party to bear their own costs and attorneys’ fees in this matter. The parties have entered into a

  settlement agreement.

  Date: August 14, 2019

  Respectfully submitted,

  /s/ Justin B. Levine                             /s/ Darren Heitner____

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 Attorneys for Plaintiff
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 14, 2019, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

  this day on all counsel of record via transmission of Notice of Electronic Filing generated by CM/ECF.



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                                               By: s/ Justin B. Levine
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